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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NORTH DAKOTA



In Re:                                              Case No.: 17-30112

Vanity Shop of Grand Forks, Inc.,                   Chapter 11

                      Debtor.


  ORDER CONFIRMING DEBTOR’S THIRD PLAN OF LIQUIDATION DATED
                           JULY 18, 2018


         Debtor filed its Disclosure Statement with Respect to Chapter 11 Plan of Liquidation

of Vanity Shop of Grand Forks, Inc. dated April 9, 2018 [Doc. 645], which the Court approved

on April 11, 2018 [Doc. 655]. It supplemented the disclosure statement on July 11, 2018, with

information about a new plan administrator and revisions to the classification of claims and

interests. Doc. 782. At a hearing on July 16, 2018, the Court found that the Disclosure

Statement dated April 9, 2018, together with the supplement filed July 11, 2018, provided

adequate information as required by 11 U.S.C. § 1125.

         Debtor filed its Third Plan of Liquidation dated July 18, 2018 (“Plan”). 1 Doc. 799.

The Court entered an Amended Order Setting Deadline for Return of Ballots and Objections

to Confirmation dated July 19, 2018 (“Confirmation Hearing Order”) [Doc. 803], ordering

Debtor to serve the Disclosure Statement and Disclosure Statement Supplement, Plan, Ballots

and Confirmation Hearing Order. In its Confirmation Hearing Order, the Court also set



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        Capitalized terms used but not otherwise defined in this Order shall have the meanings
ascribed to these terms in the Plan.
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deadlines for objections and voting on the plan, and it scheduled the confirmation hearing. In

its Confirmation Hearing Order, the Court advised: “If the Court receives no written objections

and the requirements of 11 U.S.C. § 1129 and other applicable provisions of the Bankruptcy

Code are met, the Court may confirm the plan without a hearing.” Doc. 803 at 2. For the

reasons listed below, the Court finds that Debtor met all the requirements of section 1129 and

other applicable provisions of the Bankruptcy Code and confirms Debtor’s Third Plan of

Liquidation dated July 18, 2018. The confirmation hearing scheduled for August 29, 2018, is

cancelled.

                 FINDINGS OF FACT AND CONCLUSIONS OF LAW

       1.     The Court has jurisdiction of Debtor’s Chapter 11 case in accordance with 28

U.S.C. §§ 157 and 1334. Confirmation is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2), and the Court has authority to issue a final order. Venue is proper in this district

pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.     Debtor served notice of the Disclosure Statement, Disclosure Statement

Supplement, Plan, Ballots, and the Confirmation Hearing Order, together with all deadlines

for objecting to and voting to accept or reject the Plan on the following parties: (a) the Office

of the United States Trustee for the District of North Dakota; (b) counsel to the statutory

committee of unsecured creditors appointed in this Chapter 11 case (the “Committee”); (c) all

parties entitled/required to receive notice pursuant to the Confirmation Hearing Order; and (d)

any persons who have filed a request for notice in this Chapter 11 case. Debtor or Kurtzman

Carson Consultants, LLC served this notice pursuant to Fed.R. Bankr. P. 2002, in substantial

compliance with the Confirmation Hearing Order and Fed.R. Bankr. P. 2002(b), 3017 and




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3020(b). Debtor provided notice of the confirmation hearing and other dates and deadlines in

compliance with the Bankruptcy Rules and Confirmation Hearing Order.

       3.      The Court received no objections to confirmation of the Plan.

       4.      Debtor solicited votes for acceptance and rejection of the Plan in compliance

with 11 U.S.C. §§ 1125 and 1126 and Fed.R. Bankr. P. 3017 and 3018, the Disclosure

Statement, Disclosure Statement Supplement and the Confirmation Hearing Order.

       5.      The Plan complies with applicable provisions of 11 U.S.C. § 1129. Specific

findings regarding issues raised by the parties in this case include:

       a. Debtor, as proponent of the Plan, has complied with all applicable provisions of the

            Bankruptcy Code and the Bankruptcy Rules, including sections 1123, 1125 and

            1126 of the Bankruptcy Code, and Bankruptcy Rules 3017, 3018 and 3019. As a

            result, the requirements of 11 U.S.C. § 1129(a)(2) are satisfied.

       b. Debtor has proposed the Plan in good faith and not by any means forbidden by law.

            In determining that the Plan has been proposed in good faith, the Court has

            examined the totality of the circumstances surrounding the filing of this Chapter 11

            case, the Plan and the process leading to its formulation. The good faith of Debtor

            is evident from the facts and record of the Chapter 11 case, the Disclosure

            Statement, Disclosure Statement Supplement, hearings and the record of other

            proceedings held in this Chapter 11 case. The Plan and the process leading to its

            formulation provide independent evidence of the good faith of Debtor and fair

            treatment of holders of Claims and Equity Interests.

       c. The liquidation analysis in the Disclosure Statement [Doc. 645, Ex. A] and other

            evidence related to it establish that, with respect to each impaired class, each holder

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       of an Allowed Claim has voted to accept the Plan or will receive under the Plan on

       account of such Claim property of a value, as of the Effective Date, that is not less

       than the amount such holder would receive if the Debtor was liquidated on the

       Effective Date under Chapter 7 of the Bankruptcy Code.             As a result, the

       requirements of 11 U.S.C. § 1129(a)(7) are satisfied.

    d. Allowed Administrative Claims and Priority Tax Claims are not impaired pursuant

       to Article III and IV of the Plan. As a result, the requirements of 11 U.S.C.

       § 1129(a)(9) with respect to such Claims are satisfied.

    e. Class 1 is unimpaired and conclusively presumed to have accepted the Plan under

       11 U.S.C. § 1126(f).

    f. Class 2, Class 3, and Class 4 are impaired classes and have voted to accept the Plan.

       Doc. 848. Accordingly, there is at least one class of Claims that is impaired and

       has accepted the Plan, determined without including any acceptance of the Plan by

       any insider. As a result, the requirements of 11 U.S.C. § 1129(a)(10) have been

       satisfied.

    g. Class 5 is impaired and is deemed to have rejected the Plan under 11 U.S.C.

       § 1126(g) because holders of Equity Interests are not entitled to receive or retain

       any property under the Plan. While the Plan does not satisfy 11 U.S.C. § 1129(a)(8)

       with respect to Class 5, the Court finds that the Plan does not discriminate unfairly

       and is fair and equitable with respect to Classes 2, 3, 4, and 5 as required by 11

       U.S.C. §§ 1129(b)(1) and (2). Consequently, the Plan may be confirmed despite

       the fact that Class 5 is deemed to have rejected the Plan.




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                                           ORDER

       IT IS ORDERED: Debtor’s Third Plan of Liquidation dated July 18, 2018, is

CONFIRMED.

       Substantial Consummation. The Plan shall be deemed to be substantially

consummated pursuant to 11 U.S.C. §§ 1101 and 1127(b) on the first date distributions are

made in accordance with the terms of the Plan to any holders of Allowed Claims of any Class.

       Conflicts with the Plan. Except as set forth in the Plan, to the extent that any provision

of the Disclosure Statement, Disclosure Statement Supplement or any other order (other than

this Confirmation Order) referenced in the Plan (or any exhibits, schedules, appendices,

supplements or amendments to any of the foregoing), conflict with or are in any way

inconsistent with any provision of the Plan, the Plan shall govern and control.

       Conflicts Between Confirmation Order and Plan. The provisions of the Plan and of

this Confirmation Order shall be construed in a manner consistent with each other so as to

effect the purposes of each; provided, however, that if there is determined to be any

inconsistency between any Plan provision and any provision of this Confirmation Order that

cannot be so reconciled, then, solely to the extent of such inconsistency, the provisions of this

Confirmation Order shall govern and any such provision of this Confirmation Order shall be

deemed a modification of the Plan and shall control and take precedence.

       Notice of Entry of Confirmation Order and Occurrence of the Effective Date.

Pursuant to Fed.R. Bankr. P. 2002(f)(7), 2002(k) and 3020(c), Debtor shall file and serve

notice of entry of this Confirmation Order and occurrence of the Effective Date in substantially

the form annexed as Exhibit 1 (the “Notice of Confirmation and Effective Date”) on all

holders of Claims and Equity Interests, the U.S. Trustee, counsel to the Creditors’ Committee,


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counsel to the Plan Administrator (if determined), and other parties in interest by first class

mail, postage prepaid, within three (3) Business Days after the Effective Date. Such notice is

adequate under the particular circumstances and no other or further notice is necessary. The

form of Notice of Confirmation and Effective Date substantially in the form annexed as

Exhibit 1 is approved.

         Final Order. This Confirmation Order is a final order.

         Effectiveness of Order. In accordance with Fed.R. Bankr. P. 3020(e), 6004(h) and

6006(d) and, notwithstanding any other provision of the Bankruptcy Code or the Bankruptcy

Rules, this Confirmation Order shall not be stayed and shall be effective immediately upon its

entry.

         Retention of Jurisdiction. Subject to applicable law, on and after the Effective Date,

the Court shall retain jurisdiction over all matters arising out of or related to this Chapter 11

case and the Plan pursuant to 11 U.S.C. §§ 105(a) and 1142, including, without limitation,

jurisdiction over those matters set forth in Article XII of the Plan.

         Conclusive Evidence of Dissolution. The Secretary of State of each applicable

jurisdiction and other applicable government offices shall accept this Order as conclusive

evidence of the authority of Vanity Shop of Grand Forks, Inc. to dissolve under applicable

State law and for the Plan Administrator or Debtor to execute and file such documents,

certificates and other instruments as are necessary to effect such dissolution.

         Dated: August 27, 2018.



                                                     Shon Hastings, Judge
                                                     United States Bankruptcy Court



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                                    Exhibit 1
                   Notice of Confirmation and Effective Date




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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NORTH DAKOTA

 In Re:                                               Case No.: 17-30112

 Vanity Shop of Grand Forks, Inc.,                    Chapter 11

                       Debtor.


 NOTICE OF CONFIRMATION AND EFFECTIVE DATE OF DEBTOR’S THIRD
             PLAN OF LIQUIDATION DATED JULY 18, 2018


PLEASE TAKE NOTICE OF THE FOLLOWING:

A.     CONFIRMATION OF PLAN.

       On August 27, 2018, the United States Bankruptcy Court for the District of North
Dakota entered the Order Confirming the Debtor’s Third Plan of Liquidation dated July 18,
2018 (the “Confirmation Order”).

B.     EFFECTIVE DATE OF PLAN

       The Effective Date1 under the Plan is September 26, 2018.

C.     ADMINISTRATIVE CLAIMS BAR DATE

        Pursuant to Article 4.4 of the Plan, any person or entity who requests compensation or
expense reimbursement pursuant to section 506 of the Bankruptcy Code (other than
Professional Fees, Administrative Tax Claims and Priority Tax Claims) must have timely filed
a proof of claim asserting its administrative expense claim or must file an application with the
clerk of the Bankruptcy Court and serve such application on counsel for the Plan Administrator
and the U.S. Trustee no later than October 26, 2018, which is the first Business Day that is
thirty (30) calendar days after the Effective Date.

D.     PROFESSIONAL FEE CLAIMS BAR DATE

        Pursuant to Article 4.1 of the Plan, the holder of Professional Fee Claims must file all
final requests for payment by application with the Bankruptcy Court and serve on counsel to
the Plan Administrator, counsel to the Creditors’ Committee and the U.S. Trustee no later than



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         All capitalized terms have the same meaning ascribed to them in the Debtor’s Third
Plan of Liquidation Dated July 18, 2018 [Doc. 799].
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October 26, 2018, which is the first Business Day thirty (30) calendar days after the Effective
Date.

E.     CLAIMS OBJECTION DEADLINE

        The Claim Objection Deadline is the first Business Day at least 180 calendar days after
the Effective Date (March 25, 2019). Pursuant to Section 10.12 of the Plan, all objections to
Disputed Claims shall be filed no later than the Claims Objection Bar Date, unless otherwise
ordered by the Bankruptcy Court after notice and a hearing, with notice only to those parties
entitled to notice pursuant to Fed.R.Bankr.P. 2002.

F.     COPIES OF THE PLAN AND RELATED DOCUMENTS

        Copies of the Plan, the Confirmation Order and related materials are available for
inspection during regular business hours in the office of the Clerk of the Bankruptcy Court,
655 1st Avenue North #210, Fargo, North Dakota 58102. Copies are also available on the
internet site of Debtor’s notice and claims agent, Kurtzman Carson Consultants, LLC,
http://www.kccllc.net/vanity or by accessing the Bankruptcy Court’s website
http://www.ndb.uscourts.gov. Please note that a PACER password and login are required to
access documents on the Bankruptcy Court’s website.

G.     PLAN ADMINISTRATOR

       Phillip L. Kunkel is appointed to serve as the initial Plan Administrator. Pursuant to
Section 14.9 of the Plan, any pleading, notice or other document required by the Plan to be
served on or delivered to Debtor shall be served on Debtor’s attorneys, U.S. Trustee’s Office,
the Plan Administrator, counsel to the Plan Administrator and all persons on Debtor’s
Bankruptcy Rule 2002 service list.

Plan Administrator:                                Counsel to the Plan Administrator:
Phillip L. Kunkel                                  Phillip Bohl
Gray Plant Mooty                                   Gray Plant Mooty
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St. Cloud, MN 56301                                80 South Eighth Street
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